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                   United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                     ____________
No. 25-5150                                                September Term, 2024
                                                                      1:25-cv-00966-RCL
                                                      Filed On: May 9, 2025
Middle East Broadcasting Networks, Inc.,

              Appellee

       v.

United States of America, et al.,

              Appellants



No. 25-5151
                                                                      1:25-cv-00907-RCL


Radio Free Asia,

              Appellee

       v.

United States of America, et al.,

              Appellants
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                 United States Court of Appeals
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                      ____________
No. 25-5150                                                 September Term, 2024


No. 25-5158
                                                                        1:25-cv-00799-RCL


RFE/RL, Inc.,

              Appellee

       v.

Kari Lake, in her official capacity as Senior
Advisor to the Acting CEO of the United
States Agency for Global Media, et al.,

              Appellants


                                         ORDER

       It is ORDERED, on the court’s own motion, that the Clerk issue the attached
statement of Circuit Judge Pillard, concurring in the en banc court’s May 7, 2025 order
entering an administrative stay.



                                                          FOR THE COURT:
                                                          Clifton B. Cislak, Clerk

                                                  BY:     /s/
                                                          Selena R. Gancasz
                                                          Deputy Clerk
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            PILLARD, Circuit Judge, concurring:

                 We all agree that an administrative stay can be useful and
            appropriate to preserve the status quo for a brief period while
            the court considers a pending request for emergency relief.
            And we all agree that a stay is meant to “freeze legal
            proceedings until the court can rule,” not to predetermine the
            merits of the appeal. Diss. Op. (Rao, J.) at 1 (quoting United
            States v. Texas, 144 S. Ct. 797, 798 (2024) (Barrett, J.,
            concurring)). All also agree that the administrative stay here
            (as may often be the case) has a real-world consequence: It
            temporarily allows preliminary injunctions commanding
            immediate release of impounded funds to go back into effect.

                 It is also undisputedly true, though, that there are
            substantial interests—and asserted irreparable harms—in both
            directions. In response to requests for emergency relief, Judge
            Lamberth held hearings and found that Radio Free Asia,
            Middle East Broadcasting Networks, and Radio Free Europe /
            Radio Liberty would very soon be forced to shut down if the
            government continued to withhold their funding.             See
            Widakuswara v. Lake, No. 25-1015, 2025 WL 1166400, at *16
            (D.D.C. Apr. 22, 2025); Radio Free Asia v. United States,
            No. 25-907, 2025 WL 1291342, at *1 (D.D.C. Apr. 25, 2025);
            First Fleming Decl. ¶ 26; No. 25-907, ECF No. 12 Attach. 2;
            First Kline Decl. ¶ 39, No. 25-966, ECF No. 11 Attach. 3. As
            Radio Free Asia’s Chief Operating Officer attested in its
            petition for action by the en banc court: “After May 9, RFA
            will exist in name only.” Second Fleming Decl. ¶ 10,
            RFA/MBN Emergency Pet. Add. 89. The government does not
            challenge—and presents no ground for questioning—that
            attestation.

                In short, while there is harm to the government from
            unblocking the district court’s injunctions, there is also harm to
            the networks from blocking injunctive relief. The networks
            have no source of funding other than their monthly allotments.
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                                           2
            The undisputed record evidence is that they cannot exist much
            longer without that funding. In that context, suspending all
            payments to the networks would not maintain the status quo.

                 How, then, to compare the competing assertions of
            irreparable harm in deciding whether to enter an administrative
            stay? As I have elsewhere explained, the government does not
            argue that, at the end of the day, it is entitled to keep the
            networks’ funding. It insists only that the litigation must
            proceed in the Court of Claims. See RFE/RL Order Granting
            Stay Pending Appeal, No. 25-5158 (D.C. Cir. May 7, 2025),
            Dissent at 3 (Pillard, J.). The administrative stay has the
            consequence of requiring the government to distribute the
            networks’ past-due funding to prevent their imminent collapse
            while we consider the government’s jurisdictional argument.
            In my view, the merits of that question do not counsel against
            the administrative stay. See Widakuswara v. Lake, No. 25-
            5144, 2025 WL 1288817, at *10-14 (D.C. Cir. May 3, 2025)
            (Pillard, J., dissenting).

                 The en banc court’s decision to pause for a brief time is
            not a rushed effort to choose one side or the other. Instead of
            jumping directly to resolving the petitioners’ request to vacate
            the panel’s emergency stay after very little time to examine the
            issue—in a context in which, per unchallenged affidavit
            evidence, one organization would exist in name only within
            three days of the petition’s filing—the en banc court pushed
            pause to allow further consideration of litigation that has
            developed at breakneck speed. The en banc court’s stay
            prevents the plaintiff networks from going under while the
            court engages in that consideration.
